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U.S. Department of Justice
                                                                                                                       PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                                        See                                        ocess by US. Marshal'



 PLAINTIFF                                                                                                                               COURT CASE NUMBER

 Gregory Royal                                                                                                                       2i1o48 06
 DEFENDANT                                                                                                                               TYPE OF PR9              coURT
 Cobra Legal Solutions LLC and Paula Diaz                                                                                        C

                               NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRJPON OF PROPERTY                                                Td,.EOR CONDEMN
                          Cobra Legal Solutions LLC
        SERVE          f ADDRESS      or RED, Apartment
                                           (SWeet                         No., City, State and ZIP Code)
           AT
                               1717W. 6th Street, #112, Austin, TX 78703 or 8501 N. Mopac Expy., Austin, TX 787
                                                                                                                                         Number of process to be
 SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW
                                                                                                                                         served with this Form 285

Gregory Royal                                                                                                                            Number of parties to be
                                                                                                                                         served in this case
8100 N. Mopac Expressway, Apt. 277
                                                                                                                                         Check for service
Austin, TX 78759                                                                                                                         on U.S.A.
                                                                                                                                                                                x

 SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business andAlternate
                                                                                                                 Addresses,
 All Telephone Numbers, and Estimated Times A willablefor Service):



 Signature of Attorney other Originator requesting service on behalf of:                  []   PLAINTIFF              TELEPHONE NUMBER                          DATE

                                                                                          0    DEFENDANT

                        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
 Iacknowledge receipt for the total    I    Total Process   I   District of     I   District to     J   Signature of Authorized USMS Deputy or Clerk                     Date
 number of process indicated.                                   Origin              Serve
 (Si only for USM285 more                                                           No.
                                                                NO.
 than one USM 285 is submitted)                             J




                           that!
 I hereby certify and return          have personally served,         0
                                                                    have legal evidence of service,            0
                                                                                                       have executed as shownin 'Remarks', the process described on the
 indivrnpany,          corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

   'I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)                                       i       /   c
 Name and title of individual served (if not shown above)                                                                            I   Date                   Time        fl'Dam
                                                                                                                                                                 //O                        prn

 Address (complete only different than shown above)                                                                                      Signa   eo    .   .     a! or     ji/

 REMARKS
                                                                      O9-3O                                      //95f 5O(7
                                                                          Costs shown on attached USMS Cost Sheet>>

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